Case 2:17-cv-00152-LEW Document 64 Filed 02/12/19 Page 1 of 2              PageID #: 330




                        UNITED STATES DISTRICT COURT

                                DISTRICT OF MAINE


   DANIEL ONEIL RUFFIN,                        )
                                               )
                        Plaintiff              )
                                               )
   V.                                          )    2:17-CV-00152-LEW
                                               )
   MICHAEL KNOWLTON, et al.,                   )
                                               )
                        Defendants             )


                ORDER AFFIRMING RECOMMENDED DECISION
                       OF THE MAGISTRATE JUDGE

         On January 15, 2019, the United States Magistrate Judge filed with the court,

  with copies to the parties, his Recommended Decision on Defendants’ Motions for

  Summary Judgment (ECF No. 61). The time within which to file objections expired

  on February 7, 2019, and no objections have been filed. The Magistrate Judge

  notified the parties that failure to object would waive their right to de novo review

  and appeal.

         It is therefore ORDERED that the Recommended Decision of the Magistrate

  Judge is hereby AFFIRMED and ADOPTED. Defendant Knowlton’s Motion for

  Summary Judgment (ECF No. 59) and Defendant Hinkley’s Motion for Summary

  Judgment (ECF No. 57) are GRANTED and judgment will enter in their favor

  against Plaintiff’s claim of deliberate indifference to his medical needs. Because
Case 2:17-cv-00152-LEW Document 64 Filed 02/12/19 Page 2 of 2           PageID #: 331




  judgment is entered on the only claims remaining in this case, the entry of final

  judgment is appropriate at this time.

         SO ORDERED.

         Dated this 12th day of February, 2019.

                                                  /s/ Lance E. Walker
                                                  U.S. DISTRICT JUDGE




                                          2
